             CASE 0:11-cv-02359-JRT-JJG Doc. 1 Filed 08/17/11 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                                    CIVIL NO:

ANDREA KELNER f/k/a ANDREA                    )
GARDNER,                                      )
                                              )
                       Plaintiff,             )
                                              )
       vs.                                    )
                                              )
GC SERVICES, LP,                               )   COMPLAINT
                                              )
                       Defendant.             )


                                    INTRODUCTION

       1.       This action arises out of Defendant’s violation of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                               JURISDICTION AND VENUE

       2.       Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which

states that such actions may be brought and heard before “any appropriate United States

district court without regard to the amount in controversy.”

       3.       Defendant conducts business in the state of Minnesota, personal jurisdiction

is established.

       4.       Venue in the United States District Court is proper under 28 U.S.C. §

1391(b)(2).

                                         PARTIES

       5.       Plaintiff   is a natural person residing in Andover, Anoka County,

Minnesota.


                                             -1-
            CASE 0:11-cv-02359-JRT-JJG Doc. 1 Filed 08/17/11 Page 2 of 5




       6.      Plaintiff is allegedly obligated to pay a debt and is a consumer as defined

by 15 U.S.C. § 1692a(3).

       7.      Defendant is a collection agency with its principal place of business in

Houston, Texas.

       8.      Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and

sought to collect a consumer debt from Plaintiff.

       9.      At all times relevant to this Complaint, Defendant has acted though its

agents, employees, officers, members, directors, heirs, successors, assigns, principals,

trustees, sureties, subrogees, representatives and insurers in the District of Minnesota.

                                  FACTUAL ALLEGATIONS

       10.     Defendant is attempting to collect a consumer debt from Plaintiff on behalf
of the original creditor, American Express, account number ending in 71009, with
Defendant’s reference number being 1709499.
       11.     Plaintiff’s alleged debt owed to American Express arises from transactions
for personal, family, and household purposes.
       12.     Starting in June of 2011, Defendant began placing collection calls to
Plaintiff in an attempt to collect the debt owed to American Express.
       13.     Defendant called Plaintiff on Plaintiff’s cell phone at 763-234-07xx.
       14.     In July of 2011, Defendant left voicemail messages for Plaintiff on
Plaintiff’s cell phone in an attempt to collect a debt from American Express. See
Defendant’s transcribed voicemail messages attached as Exhibit A.
       15.     Defendant’s voicemail messages for Plaintiff did not disclose Defendant’s
identity and did not state that the communication was from a debt collector. See Exhibit



                                             -2-
         CASE 0:11-cv-02359-JRT-JJG Doc. 1 Filed 08/17/11 Page 3 of 5




A.
      16.      Defendant’s voicemail messages requested Plaintiff to call back numbers

314-851-4327 and 314-851-4345, both of which belonged to Defendant.


                               COUNT ONE:
         VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692 et seq.

      17.      Defendant’s violations of the FDCPA include, but are not limited to, the

following:

            a. Defendant violated §1692d of the FDCPA by engaging in conduct that the
               natural consequences of which was to harass, oppress, and abuse Plaintiff
               in connection with the collection of an alleged debt.
            b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls
               without meaningful disclosure of the caller’s identity.
            c. Defendant violated §1692e of the FDCPA by using false, deceptive, and
               misleading representations in connection with the collection of any debt.
            d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in
               an attempt to collect a debt.
            e. Defendant violated §1692e(11) of the FDCPA by failing to disclose in
               subsequent communications that the communication was from a debt
               collector.

      18.      Plaintiff is entitled to attorneys’ fees and costs incurred in this action.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

               a. Statutory damages pursuant to 15 U.S.C. § 1692k;
               b. Reasonable attorneys’ fees, costs pursuant to 15 U.S.C. § 1692k; and
               c. Awarding such other and further relief as may be just, proper and
                  equitable.




                                              -3-
         CASE 0:11-cv-02359-JRT-JJG Doc. 1 Filed 08/17/11 Page 4 of 5




                           DEMAND FOR JURY TRIAL

      Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

amend. 7. Fed.R.Civ.Pro. 38.


                                           KROHN & MOSS, LTD


Dated: August 15, 2011

                                                   Lee Cassie Yates
                                           By: s/ _________________________
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                                          -4-
CASE 0:11-cv-02359-JRT-JJG Doc. 1 Filed 08/17/11 Page 5 of 5
